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                                                                          Friday, 10 December, 2021 06:42:46 PM
                                                                                     Clerk, U.S. District Court, ILCD

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS


ERIC OLLISON,                                                     )
                                                                  )
                        Plaintiff,                                )
                                                                  )        Case No. 17-CV-1077
        vs.                                                       )
                                                                  )          JURY DEMAND
WEXFORD HEALTH SOURCES, INC., et al.,                             )
                                                                  )
                        Defendants.                               )


 AMENDED ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

        NOW COME Defendants, Gregory Gossett, Robbie Johnson, and Corey Wise, by and

through their attorney, Kwame Raoul, Attorney General for the State of Illinois, and state the

following for their Answer and Affirmative Defenses to Plaintiff’s Complaint, [Doc. 1]:

                                        NATURE OF CLAIM

        1.      This action arises under the United States Constitution and the laws of the United

States, specifically the Civil Rights Act of 1871 (42 U.S.C. § 1983), to redress deprivations of the civil

rights of plaintiff through acts and/or omissions of defendants committed under color of law.

Specifically here, defendants deprived plaintiff of his rights under the Eighth and Fourteenth

Amendments to the United States Constitution, by the deliberate indifference of employees or

agents of the Illinois Department of Corrections and their contractor, WEXFORD HEALTH

SOURCES, INC., to plaintiff's serious medical needs, proximately causing plaintiff serious and

permanent injuries and substantial pain and suffering.

ANSWER: Defendants admit that the Plaintiff has filed a complaint based on a

purported claim under 42 U.S.C. § 1983 and the Eighth and Fourteenth
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Amendments to the United States Constitution. Defendants deny the remaining allegations

in paragraph 1.

        2. Additionally, plaintiff relies upon the Court's supplemental jurisdiction to assert the

Illinois state claim of indemnification.


ANSWER: Defendants admit that the Court has the power to exercise supplemental jurisdiction

over a state law claim.

                                    JURISDICTION AND VENUE

        3. Jurisdiction is based upon 28 U.S.C. §§ 1343, 1331, and 1367.

ANSWER: Defendants admit that the United States District Court for the Central District of

Illinois has jurisdiction over this action.

        4. Venue is founded in this judicial district upon 28 U.S.C. § 1391 as acts complained of

occurred in this district.

ANSWER: Defendants admit that venue is proper in the United States District Court for the

Central District of Illinois.

                                              PARTIES

        5.      Plaintiff, ERIC OLLISON, was and now is a citizen of the United States, and

resides within the jurisdiction of this Court.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 5.

        6.      The events recounted here occurred while plaintiff was a sentenced prisoner in

the custody of Illinois Department of Corrections (IDOC), at Stateville Northern Reception and

Classification Center (Stateville NRC) in Joliet, Illinois, and at Illinois River Correctional Center

(Illinois River) in Canton, Illinois. Plaintiff is no longer in the custody of the IDOC.

ANSWER: Defendants admit the allegation in paragraph 6.

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        7.       At all times mentioned herein, WEXFORD HEALTH SOURCES, INC.

(WEXFORD) was and is a Florida corporation, doing business in Illinois.

ANSWER: Defendants admit the allegations in paragraph 7.

        8.       At all times mentioned herein, WEXFORD was and is under contract with the

Illinois Department of Corrections to furnish medical care to inmates incarcerated at IDOC

correctional facilities, including Stateville NRC and Illinois River.

ANSWER: Defendants deny that paragraph 8 fully and accurately describes the

contractual agreement between the Illinois Department of Corrections and Wexford Heath

Sources, Inc..

        9.       Under this contract, WEXFORD has been at all times relevant to this case, the

sole provider of health care services at Stateville NRC and Illinois River.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 9.

        10.      As the sole provider of health care services at all times relevant to this case,

WEXFORD has employed and supervised all medical and health care staff at Stateville NRC

and Illinois River who provide medical care to inmates, including plaintiff.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 10.

        11.      In its capacity as contractor to the IDOC, WEXFORD has promulgated rules,

regulations, policies and procedures for medical intake, evaluation, diagnosis, treatment, and

overall medical care of inmates at the facilities in which it provides health care services.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 11.




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       12.    The policies and procedures of WEXFORD are and have been implemented by

and through its employees.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 12.

        13.     WEXFORD and its employees were, in all acts and omissions alleged herein,

acting under color of law.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 13.

                  Parties from Stateville Reception and Classification Center

        14.     Stateville Reception and Classification Center is one of the major adult male

intake and processing units for the IDOC. The Stateville NRC is a temporary housing facility

where inmates are held until it is determined to which IDOC facility they will be assigned. This

process often lasts weeks or months.

ANSWER: Defendants make no answer to the allegations in paragraph 14 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

        15.     At all times relevant to the events at issue in this case, MARCUS HARDY was

employed by the IDOC as the Warden, or Chief Administrative Officer, of Stateville NCR.

ANSWER: Defendants make no answer to the allegations in paragraph 15 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

        16.     As Chief Administrative Officer, Warden HARDY was responsible for the

overall operation, policies, and management of Stateville NRC. Included in his responsibilities

was the hiring and training of all personnel employed by IDOC at Stateville NRC and the

formulating of rules, regulations, and policies governing its employees and inmates.




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ANSWER: Defendants make no answer to the allegations in paragraph 16 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

        17.    As Chief Administrative Officer, Warden HARDY also promulgated rules,

regulations, policies, and procedures at Stateville NRC for the provision of certain medical

care. This included the medical screening of and the administration of medical services to

inmates at Stateville NRC by medical care providers employed by the IDOC, as well as by

medical care providers employed by WEXFORD.

ANSWER: Defendants make no answer to the allegations in paragraph 17 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

        18.    As a prisoner and ward of the state, Mr. OLLISON's guardian was the

Warden of Stateville NRC, who was in charge of his medical care and medical decisions while

he was incarcerated there.

ANSWER: Defendants make no answer to the allegations in paragraph 18 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

       19.     Warden HARDY was at all times relevant to the events at issue in this case

acting under color of law.

ANSWER: Defendants make no answer to the allegations in paragraph 19 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

       20.     Doctor ARTHUR FUNK or Doctor JOHN DOE was a physician employed by

WEXFORD as the Medical Director of Stateville NRC.

ANSWER: Defendants make no answer to the allegations in paragraph 20 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

       21.     As Medical Director of Stateville NRC, Doctor FUNK or Doctor JOHN DOE was

the final policymaker for WEXFORD and had final authority to and did promulgate rules,


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regulations, policies, and procedures for the provision of medical care to inmates, including

medical screening and care of inmates and administration of medication to the inmates by

medical care providers such as nurses, doctors, and certified medical technicians employed at

Stateville NRC.

ANSWER: Defendants make no answer to the allegations in paragraph 21 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

       22.     The rules, regulations, policies, and procedures of Doctor FUNK or Doctor

JOHN DOE were implemented by and through WEXFORD and IDOC employees, including

the individual defendant medical care providers, who were responsible for the medical care

of inmates at Stateville NRC, including plaintiff.

ANSWER: Defendants make no answer to the allegations in paragraph 22 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

       23.     Medical Director FUNK or JOHN DOE was at all times relevant to the events at

issue in this case acting under color of law.

ANSWER: Defendants make no answer to the allegations in paragraph 23 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

       24.     At all times mentioned herein, defendants ARTHUR FUNK, MD, Medical

Director JOHN DOE, MD, D. SCHWARZ, MD, STEVEN TALLER, MD, JOHN DOE, MD,

SARAH L. MAYS, and Nurse MORRIS, RN were each an employee of WEXFORD or, in the

alternative, of the IDOC, employed to provided medical services to inmates, including plaintiff,

at Stateville NRC.

ANSWER: Defendants make no answer to the allegations in paragraph 24 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].




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        25.     Defendants ARTHUR FUNK, MD, Medical Director JOHN DOE, MD,

D. SCHWARZ, MD, STEVEN TALLER, MD, JOHN DOE, MD, SARAH L. MAYS,

and Nurse MORRIS, RN were each acting under color of state law and within the scope of their

employment by WEXFORD at Stateville NRC. They are being sued in their individual/personal

capacity.

ANSWER: Defendants make no answer to the allegations in paragraph 25 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

                         Parties from Illinois River Correctional Center

        26.     Illinois River Correctional Center is a medium security adult male correctional

facility managed by the IDOC, located in Canton, Illinois.

ANSWER: Defendants admit the allegations in paragraph 26.

        27.     Upon information and belief, WALTER NICHOLSON was employed by the

IDOC as the Warden at Illinois River in 2012, and therefore functioned as Warden for part of

the time that Mr. OLLISON was incarcerated there.

ANSWER: Defendants make no answer to the allegations in paragraph 27 because the Court

dismissed the claims against Defendant Nicholson on November 29, 2016. [Doc. 133].

        28.     GREG GOSSETT was employed by the IDOC as the Warden at Illinois River at

all other times relevant to the events in this complaint.

ANSWER: Defendants admit the allegations in paragraph 28.

        29.     As Chief Administrative Officer, Wardens NICHOLSON and GOSSETT were

responsible for the overall operation, policies, and management of Illinois River. Included in

their responsibilities was the hiring and training of all personnel employed by IDOC at Illinois

River, and the formulating of rules, regulations, and policies governing its employees and

inmates.


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ANSWER: Defendants admit that Defendant Gossett was employed as Warden at Illinois

River during the relevant timeframe. Defendants deny that paragraph 29 fully and

accurately describes Defendant Gossett’s duties as Warden. Defendants make no answer to

the allegations regarding Defendant Nicholson because the Court dismissed the claims

against Defendant Nicholson on November 29, 2016. [Doc. 133].

         30.     As Chief Administrative Officers, Wardens NICHOLSON and GOSSETT also

promulgated rules, regulations, policies, and procedures at Illinois River for the provision of certain

medical care. This included the medical screening of and the administration of medical services to

inmates at Illinois River by medical care providers employed by the IDOC, as well as by medical care

providers employed by WEXFORD.

ANSWER: Defendants admit that Defendant Gossett was employed as Warden at Illinois

River during the relevant timeframe. Defendants deny that paragraph 30 fully and

accurately describes Defendant Gossett’s duties as Warden. Defendants make no answer to

the allegations regarding Defendant Nicholson because the Court dismissed the claims

against Defendant Nicholson on November 29, 2016. [Doc. 133].

        31.      Wardens NICHOLSON and GOSSETT were responsible for reducing strife and

enhancing harmony in the operation of Illinois River by promulgating and enforcing rules,

regulations, and policies for the effective and equitable resolution of inmate problems,

complaints, and grievances.

ANSWER: Defendants admit that Defendant Gossett was employed as Warden at Illinois

River during the relevant timeframe. Defendants deny that paragraph 31 fully and

accurately describes Defendant Gossett’s duties as Warden. Defendants make no answer to

the allegations regarding Defendant Nicholson because the Court dismissed the claims

against Defendant Nicholson on November 29, 2016. [Doc. 133].


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       32.      As a prisoner and ward of the state, Mr. OLLISON's guardian was the

Warden of Illinois River, who was in charge of his medical care and medical decisions while

he was incarcerated there.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 32.

       33.      Wardens NICHOLSON and GOSSETT were at all times relevant to the events

at issue in this case acting under color of law.

ANSWER: Defendants admit that Defendant Gossett was acting under color of law.

Defendants make no answer to the allegations regarding Defendant Nicholson because the

Court dismissed the claims against Defendant Nicholson on November 29, 2016. [Doc. 133].

       34.      Doctor CARLA B. GREBY was a physician employed by WEXFORD as the

Medical Director at Illinois River from July 25, 2010, though January 31, 2014.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 34.

       35.      GREBY is no longer licensed to practice medicine in Illinois, in that her

physician's license was not renewed in 2014, a few weeks after Mr. OLLISON's admission into

the hospital through the emergency room.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 35.

       36.      As Medical Director of Illinois River, Doctor GREBY was the final policymaker

for WEXFORD and had final authority to and did promulgate rules, regulations, policies, and

procedures for the provision of medical care to inmates, including medical screening and care

of inmates and administration of medication to the inmates by medical care providers such as

nurses, doctors, and certified medical technicians employed at Illinois River.


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ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 36.

        37.      The rules, regulations, policies, and procedures of Doctor GREBY were

implemented by and through WEXFORD and IDOC employees including the individual

defendant medical care providers, who were responsible for the medical care of inmates

at Illinois River, including plaintiff.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 37.

         38.      As Medical Director, Doctor GREBY had the authority to refer inmates to

medical specialists and to order laboratory and clinical services whether available inside

the prison facility or outside the prison facility.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 38.

         39.      Medical Director GREBY was at all times relevant to the events at issue in this

case acting under color of law.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 39.

         40.      At all times mentioned herein, defendants CARLA B. GREBY, MD, REBECCA

S. EINWOHNER, MD, LISA BISHOP, CONNIE SWORD, EDNA L. GREENHAGEN, RN,

SHIRLEY LAW, RN, C. PELLITER, C. REYNOLDS, NURSE CANDY "DOE," KANDIS CRITZ,

RN, NURSE DAVID "DOE," K. BARKER, LPN, F. MAURICE, RN, and J. EASLEY, LPN, were

each an employee of WEXFORD or, in the alternative, of the IDOC, employed to provided

medical services to inmates, including plaintiff, at Illinois River.




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ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 40.

        41.     Defendants CARLA B. GREBY, MD, REBECCA S. EINWOHNER, MD, LISA

BISHOP, CONNIE SWORD, EDNA L. GREENHAGEN, RN, SHIRLEY LAW, RN, C.

PELLITER, C. REYNOLDS, NURSE CANDY "DOE," KANDIS CRITZ, RN, NURSE DAVID

"DOE," K. BARKER, LPN, F. MAURICE, RN, and J. EASLEY, LPN were each acting under

color of state law and within the scope of their employment by WEXFORD. They are being

sued in their individual/personal capacity.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 41.

        42.     At all times mentioned herein, defendants ROBBIE JOHNSON and C. WISE

were employees of the IDOC at Illinois River. JOHNSON was a grievance officer and WISE

was a prison counselor.

ANSWER: Defendants admit that Defendant Johnson was employed as a Grievance

Officer at Illinois River during the relevant timeframe. Defendants admit that Defendant

Wise was employed as a Correctional Counselor at Illinois River during the relevant

timeframe.

        43.     Defendants JOHNSON and WISE were each acting under color of state law and

within the scope of their employment by IDOC. They are being sued in their individual/personal

capacity.

ANSWER: Defendants admit that Defendants Gossett and Wise were acting under color of

law. Defendants lack knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in paragraph 43.




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                                           State of Illinois

        44.     At all times herein mentioned, the State of Illinois is empowered and directed to

pay any judgment for compensatory damages, and associated attorneys' fees and costs, for which

any State employee acting within the scope of his/her employment, is found liable. Accordingly,

the State of Illinois is named herein as an indemnification party.

ANSWER: Defendants make no answer to the allegations in paragraph 44 because the Court

found that they are a “mere legal conclusion that does not purport to make a substantive

claim.” [Doc. 133] (internal citations omitted). The Court also found that “a federal court

cannot enter a money judgment requiring the State of Illinois to indemnify its employees.”

[Doc. 133].

                                   FACTUAL ALLEGATIONS

        45.     Plaintiff, ERIC OLLISON, is 32 years old.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 45.

        46.     All acts alleged herein occurred while plaintiff, ERIC OLLISON, was in the

custody of the Illinois Department of Corrections and was incarcerated at Stateville Reception and

Classification Center (Stateville NRC) and Illinois River Correction Center (Illinois River).

ANSWER: Defendants admit the allegations in paragraph 46.

                       Plaintiff’s medical condition was serious at intake

        47.     Prior to his arrival at Stateville NRC for intake and assignment, Mr. OLLISON

was incarcerated at Kankakee County Detention Center in Kankakee, Illinois. At that time, he

received consistent and competent medical care, from a primary care physician and from a

nephrologist.




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ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 47.

        48.    In March 2011, Mr. OLLISON was diagnosed by a nephrologist with chronic

kidney disease (CKD) Stage III (moderate), proteinuria, nephrotic syndrome, and

hyperlipidemia, in addition to the hypertension he had suffered for years.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 48.

        49.    While at the Kankakee County Detention Center, Mr. OLLISON was given

frequent laboratory work-ups, and his nephrologist met with him every month or two, to

examine him and to regulate his medications, in order to assure that his kidney disease,

proteinuria, nephrotic syndrome, hyperlipidemia, and hypertension were well-managed.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 49.

        50.    When Mr. OLLISON arrived at Stateville NRC in December 2011, Registered

Nurse SARAH L. MAYS interviewed Mr. OLLISON for his medical history and Doctor D.

SCHWARZ and/or Doctor STEVEN TALLER and/or Doctor JOHN DOE performed a

physical examination.

ANSWER: Defendants make no answer to the allegations in paragraph 50 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

        51.    Mr. OLLISON told Nurse MAYS and Doctor SCHWARZ, TALLER, and/or

JOHN DOE that he had a kidney condition, but they were deliberately indifferent to his serious

medical condition and they failed to note on his chart that he had CKD, chronic kidney disease,

as well as proteinuria, nephrotic syndrome, and hyperlipidemia, and thus needed a referral to a

specialist.


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ANSWER: Defendants make no answer to the allegations in paragraph 51 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

       52.     Once the initial records failed to show that Mr. OLLISON had these chronic

conditions, other medical personnel were deliberately indifferent to his serious medical

needs and also failed independently to determine that these chronic conditions existed. The

prison medical personnel after intake relied on the erroneous intake records.

ANSWER: Defendants make no answer to the allegations in paragraph 52 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

       53.     Once the initial records failed to show that Mr. OLLISON had these chronic

conditions, other medical personnel were deliberately indifferent to his serious medical

needs and also failed independently to determine that these chronic conditions existed. The

prison medical personnel after intake relied on the erroneous intake records.

ANSWER: Defendants make no answer to the allegations in paragraph 53 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

        54.     Nurse MAYS, Doctors SCHWARZ, TALLER, and/or JOHN DOE all failed to

obtain the records with Mr. OLLISON's medical history from Kankakee County Detention

Center, which documented the chronic kidney disease assessment and the treatment plan.

ANSWER: Defendants make no answer to the allegations in paragraph 54 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

        55.     On January 16, 2012, Mr. OLLISON was transferred from Stateville NRC to

Illinois River. Registered Nurse MORRIS at Stateville NRC prepared the transfer screening

report, and despite the fact that the laboratory reports showed that Mr. OLLISON had Stage

III chronic kidney disease, he/she failed to note it.




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ANSWER: Defendants make no answer to the allegations in paragraph 55 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

         56.     Nurse MORRIS' failure to note the chronic kidney disease meant that medical

personnel who subsequently treated Mr. OLLISON were not immediately alerted to this

serious medical condition.

ANSWER: Defendants make no answer to the allegations in paragraph 56 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

         57.     MARCUS HARDY, who was employed by the IDOC as the Warden, or Chief

Administrative Officer of Stateville NCR, was responsible for the overall operation of the

facility. This included the medical screening of and the administration of medical services to

inmates at Stateville NRC by medical care providers employed by the IDOC, as well as by

medical care providers employed by WEXFORD.

ANSWER: Defendants make no answer to the allegations in paragraph 57 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

         58.     As a supervisor, Warden HARDY was aware of, facilitated, and/or turned a

blind eye to the deficient practices which ultimately resulted in injury to Mr. OLLISON.

ANSWER: Defendants make no answer to the allegations in paragraph 58 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

       59.      Medical Director ARTHUR FUNK or Medical Director JOHN DOE supervised the

medical care for inmates at Stateville NRC, and as Medical Director of the intake facility had the

responsibility of assuring that the intake information and records were complete and accurate and

contained all previous records for inmates from transferring institutions, and that the information

and records forwarded to the receiving correctional institution were also complete and accurate.




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ANSWER: Defendants make no answer to the allegations in paragraph 59 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

        60.    Medical Director ARTHUR FUNK or Medical Director JOHN DOE failed in

their responsibility of assuring that the intake information and records were complete and

accurate and contained all previous records for inmates from transferring institutions, and

that the information and records forwarded to the receiving correctional institution were also

complete and accurate.

ANSWER: Defendants make no answer to the allegations in paragraph 60 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

        61.    The deliberate indifference of WEXFORD, and the employees and agents of the

IDOC and WEXFORD at Stateville NRC, to report and plan for the treatment of plaintiff's

serious medical condition was a proximate cause of his subsequent renal failure and other

injuries.

ANSWER: Defendants make no answer to the allegations in paragraph 61 because the Court

dismissed the claims against the Stateville Defendants on November 29, 2016. [Doc. 133].

  There was deliberate indifference at Illinois River to plaintiff's serious medical condition

        62.    Registered Nurse SHIRLEY LAW performed the intake reception screening at

Illinois River, assisted by C. REYNOLDS and C. PELLITERE. Their notes were erroneous,

saying that Mr. OLLISON's "chart [was] received at IRCC," that Mr. OLLISON had "no

significant history," and that his "problem list was updated."

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 62.




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         63.    Mr. OLLISON told the intake staff that he had a kidney problem, but LAW,

REYNOLDS, and PELLITERE were deliberately indifferent to his serious medical condition

and did not note it in the chart.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 63.

         64.    Doctor CARLA B. GREBY was the Medical Director at Illinois River. She was

Mr. OLLISON's primary care physician and as such, she monitored and was responsible for

his medical care while he was incarcerated at Illinois River.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 64.

         65.    Doctor GREBY's specialty was internal medicine. She had no training or

experience in nephrology.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 65.

         66.    Doctor GREBY signed the initial laboratory results of January 27, 2012, for Mr.

OLLISON, which contained abnormal readings, including an elevated creatinine level, a low

BUN/creatinine reading, and an eGFR reading that indicated Stage III chronic kidney disease

(CKD).

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 66.

         67.    Doctor GREBY also signed the laboratory results of February 2, 2012, which

showed a high level of urine protein in Mr. OLLISON's system.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 67.


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        68.     Throughout Mr. OLLISON's medical chart, Doctor GREBY listed only

hypertension and hyperlipidemia as his chronic medical conditions.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 68.

        69.     Doctor GREBY signed laboratory reports with abnormal readings on March 20,

2012, and July 11, 2012, but took no action.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 69.

        70.     There is no indication that any laboratory tests were done for eight months,

from July 2012 until March 2013.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 70.

        71.     On March 7, 2013, laboratory tests showed several seriously abnormal readings,

that is, an elevated BUN reading, an elevated creatinine level, an elevated chloride level, a low

BUN/creatinine reading, a low protein level, and a low albumin level. There was also a high

level of urine protein. Doctor GREBY signed the report.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 71.

       72.      On March 12, 2013, Doctor GREBY noted in the progress notes the elevated

creatinine level of 4.07 and, for the first time, acknowledged and noted that Mr. OLLISON has

chronic kidney disease.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 72.




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       73.      Doctor GREBY referred Mr. OLLISON to Doctor REBECCA S. EINWOHNER, a

nephrologist.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 73.

       74.      On March 21, 2013, Doctor GREBY wrote in the progress notes that she wanted

to obtain "old records re kidney disease," and noted her new discovery that Mr. OLLISON has

a "history of kidney disease." She noted that he had edema in the ankles.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 74.

       75.      Doctor EINWOHNER requested and Doctor GREBY ordered a kidney

ultrasound.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 75.

       76.      Laboratory tests on March 27, 2013, showed a creatinine level of 4.52.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 76.

       77.      On April 10, 2013, Doctor GREBY noted that she is following up on the kidney

disease, and she referred to obtaining "old records" to confirm the etiology of the disease.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 77.

       78.      On April 17, 2013, and April 22, 2013, Doctor GREBY noted again that she

would "await old records."

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 78.


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       79.     Doctor EINWOHNER prepared two reports, on March 21, 2013, and April 15, or

16, 2013, but did not become actively involved in developing and overseeing a treatment plan

for Mr. OLLISON's worsening chronic kidney disease.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 79.

       80.     Neither Doctor GREBY nor Doctor EINWOHNER made any efforts to determine

the etiology of Mr. OLLISON's chronic kidney disease, or develop a comprehensive treatment

plan to control the disease, thus demonstrating deliberate indifference.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 80.

        81.     After the two spurts of interest, on March 21, 2013, and April 15, or 16, 2013,

Doctor E1NWOHNER seems to have dropped out of the picture. No nephrologist was

monitoring Mr. OLLISON's condition.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 81.

         82.    Mr. OLLISON had a routine appointment with Doctor GREBY on July 25,

2013, but she ordered no laboratory tests and only noted as chronic problems his

hypertension and his lipids level, not the chronic kidney disease.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 82.

       83.     LISA BISHOP, the Illinois River Medical Records Director, made several

ineffective written requests in April, May, and June 2013 for prior records from Kankakee

County Jail for Mr. OLLISON. She was not diligent in her attempts to obtain those records.

She was indifferent to the importance and the urgency of obtaining those records.


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ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 83.

       84.     After the requests by LISA BISHOP for prior records from Kankakee County

Jail, and after several notes by Doctor GREBY that she was awaiting those records, Doctor

GREBY noted on July 15, 2013, that she received the records.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 84.

       85.     After receiving the records, Doctor GREBY showed no concern about Mr.

OLLISON's chronic kidney disease, and she took no additional action.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 85.

    Deliberate indifference by WEXFORD medical personnel at Illinois River caused Mr.
                  OLLISON's serious medical condition to quickly worsen

       86.     On November 18, 2013, Mr. OLLISON's condition started going downhill. He

complained to Doctor GREBY that he was "sluggish." Over the next six weeks, he persistently

voiced his physical complaints, as he began to feel worse and worse.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 86.

       87.     Mr. OLLISON complained that he was tired all the time, that he felt lightheaded

and dizzy, and that he had a dry mouth and a bad medicine or salty taste in his mouth that would

not go away. He also complained that he was vomiting all the time, "for weeks," that his face and

legs were swollen, and that he had the chills and shortness of breath. He also complained that

he would go for days without urinating.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 87.

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        88.     Mr. OLLISON voiced his complaints to Physician's Assistant CONNIE

SWORD; Nurse CANDY "DOE," believed to be Registered Nurse KANDIS CRITZ; Licensed

Practical Nurse K. BARKER; Registered Nurse F. MAURICE; and Licensed Practical Nurse J.

EASLEY, among others.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 88.

        89.     Defendants were deliberately indifferent to Mr. OLLISON's symptoms,

which were classic symptoms of renal failure.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 89.

        90.     Doctor GREBY and Physician Assistant SWORD failed to order any laboratory

tests. The chart does not show any laboratory tests ordered in 2013 after April 12, 2013, despite

Mr. OLLISON's complaints.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 90.

        91.     During this period, there was no referral to a nephrologist.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 91.

        92.     Defendants GREBY, EINWOHNER, SWORD, Nurse CANDY "DOE,"

CRITZ, Nurse DAVE "DOE," BARKER, MAURICE, and EASLEY were all deliberately

indifferent and failed to take seriously Mr. OLLISON's failing medical condition.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 92.




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        93.     Defendant medical personnel at Illinois River, at Doctor GREBY's direction,

only continued to take Mr. OLLISON's blood pressure readings on a regular basis. When he

exhibited clear symptoms of renal failure, defendants treated Mr. OLLISON for acid

indigestion and heartburn. They did nothing to treat his serious kidney condition.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 93.

   Deliberate indifference by IDOC personnel at Illinois River caused Mr. OLLISON's
                       serious medical condition to quickly worsen

        94.     Mr. OLLISON filed at least three grievances, on December 22, 2013, December

28, 2013, and January 8, 2014. He was becoming more and more desperate.

ANSWER: Defendants admit that Plaintiff filed grievances dated December 22, 2013 and

December 26, 2013. Defendants lack knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in paragraph 94.

        95.     In his December 22, 2013, grievance, Mr. OLLISON stated, "I am basically

begging you to have myself fully checked out to make sure that nothing is wrong. I am only 30

years old there is no way my body should be reacting this way."

ANSWER: Defendants admit that Plaintiff wrote the above-described statement in his

grievance to explain his concern about the side effects he was experiencing from his

newly prescribed medication.

        96.     Counselor C. WISE, Grievance Officer ROBBIE JOHNSON, the Chief

Administrative Officer, believed to be Warden GREG GOSSETT, and Director of Nursing

EDNA L GREENHAGEN all dismissed the December 22, 2013, complaint as "moot," and not

an emergency.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 96.

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        97.     In his December 26, 2013, grievance, Mr. OLLISON complained about high

blood pressure, vomiting for three weeks, lightheadedness, chest pains, dizziness, shivers,

swollen face, not using the bathroom regularly (using the toilet now every three days), and no

energy. He complained that Physician's Assistant SWORD was not documenting his complaints.

SWORD listed his complaints that day in his chart as "bad taste in mouth," "feels tired," and

"HTN" (hypertension).

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 97.

        98.     Mr. OLLISON's December 26, 2013, grievance was ignored.

ANSWER: Defendants deny the allegations in paragraph 98.

        99.     In his January 8, 2014, grievance, Mr. OLLISON reported the same persistent

symptoms. He complained that his blood work and urine sample were lost by Nurse DAVE

"DOE," and Nurse CANDY "DOE," believed to be Registered Nurse KANDIS CRITZ. He

complained that his unrelenting vomiting was a serious problem. He complained that the

medical staff was making a joke of everything. He complained that Physician's Assistant

SWORD would not treat him for anything; all that she ever did was arrange for his blood

pressure to be checked.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 99.

        100.    The Chief Administrative Officer (believed to be GREG GOSSETT) said in an

Emergency Review that the January 8, 2014, grievance did not constitute an emergency. On

January 14, 2014, two days before Mr. OLLISON was hospitalized, Counselor C. WISE, Grievance

Officer ROBBIE JOHNSON, and Director of Nursing EDNA L. GREENHAGEN all dismissed the

January 8, 2014, complaint as "moot," and not an emergency.

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ANSWER: Defendants deny the allegations in paragraph 100.

       101.     Apparently to cover his tracks, the Chief Administrative Officer (believed to be

GREG GOSSETT) stated on March 23, 2014, that the January 8, 2014, complaint was not an

emergency. This was more than two months after Mr. OLLISON suffered renal failure,

seizures, brain injury, and other system failures described below.

ANSWER: Defendants deny the allegations in paragraph 101.

       102.     WALTER NICHOLSON during his term as Warden and GREG GOSSETT

during his term as Warden were responsible for the overall operation of Illinois River. This

included the medical screening of and the administration of medical services to inmates at

Illinois River by medical care providers employed by the IDOC, as well as by medical care

providers employed by WEXFORD.

ANSWER: Defendants admit that Defendant Gossett was employed as Warden at

Illinois River during the relevant timeframe. Defendants deny that paragraph 102 fully

and accurately describes the Defendant Gossett’s duties as Warden. Defendants make no

answer to the allegations regarding Defendant Nicholson because the Court dismissed

the claims against Defendant Nicholson on November 29, 2016. [Doc. 133].

       103.     As supervisors, Wardens NICHOLSON and GOSSETT were aware of,

facilitated, and/or turned a blind eye to the deficient practices which ultimately resulted

in injury to Mr. OLLISON.

ANSWER: Defendants deny the allegations in paragraph 103 related to Defendant Gossett.

Defendants make no answer to the allegations regarding Defendant Nicholson because the

Court dismissed the claims against Defendant Nicholson on November 29, 2016. [Doc. 133].

       104.     The IDOC employees had ample notice that Mr. OLLISON had a serious

medical condition, but they were deliberately indifferent to his condition.


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ANSWER: Defendants deny the allegations in paragraph 104.

    Deliberate indifference at Illinois River by WEXFORD medical personnel caused Mr.
                  OLLISON's serious medical condition to become critical

        105.      On December 30, 2013, Mr. OLLISON was sitting in his chair in his cell when, all

of a sudden, he started feeling lightheaded and queasy. He went to the toilet and started vomiting

as he had been doing repeatedly, some times several times a day. Every time he informed the

nurse that he had vomited, he was told that his appointment with the physician's assistant

(SWORD) was on January 2, 2014, and that he would have to wait until then for additional

medical attention.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 105.

        106.      After repeated vomiting on December 30, 2013, Mr. OLLISON's stomach

became knotted up, and he was writhing on the floor, holding his stomach in pain. Mr.

OLLISON's cellmate hit the emergency button.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 106.

        107.      The corrections officer came by and asked Mr. OLLISON if he could get up.

Mr. OLLISON slowly got up and sat in the chair. He started shaking and shivering

uncontrollably.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 107.

        108.      When the nurse finally came by, believed to be Licensed Practical Nurse J.

EASLEY from the records, she was sarcastic. She gave Mr. OLLISON some Ibuprofen and

Maalox.



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ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 108.

        109.      Mr. OLLISON pleaded with Physician's Assistant CONNIE SWORD and

Nurse CANDY "DOE," believed to be Registered Nurse KANDIS CRITZ, to do some tests,

some blood work, anything, to find out what was wrong with him.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 109.

        110.      Mr. OLLISON asked to see Doctor GREBY, but was told that he would have to

wait for his next regularly scheduled appointment with her. Mr. OLLISON was in distress.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 110.

        111.      On January 7, 2014, Doctor GREBY finally ordered that laboratory tests be done.

Blood and urine samples were taken on January 8, 2014, but were lost by Nurse CANDY "DOE,"

believed to be Registered Nurse KANDIS CRITZ, and Nurse DAVE "DOE."

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 111.

           112.   The tests were never done and no one, not Doctor GREBY, not Physician's

Assistant SWORD, and not any of the registered nurses or licensed practical nurses, even

noticed.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 112.

           113.   On January 8, 2014, Physician's Assistant SWORD came by to ask if anyone

had flu symptoms. Mr. OLLISON complained that he was vomiting and was lightheaded and




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dizzy. SWORD said that Mr. OLLISON's medications would not make him vomit and she

dismissed his complaints.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 113.

        114.     On January 16, 2014, Mr. OLLISON saw Physician's Assistant SWORD. He

complained that he had been vomiting for weeks. Complete blood count (CBC) and

comprehensive metabolic panel (CMP) tests were ordered to be completed immediately.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 1114.

        115.     SWORD contacted Doctor EINWOHNER with the laboratory test results

(which are missing from the chart provided by IDOC to plaintiff). It does not appear, however,

that Dr. EINWOHNER examined Mr. OLLISON.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 115.

        116.     According to the chart, upon reviewing the laboratory results, Doctor

EINWOHNER "suggested Pt be directly admitted to hospital." Doctor GREBY was contacted

and she concurred.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 116.

               Mr. OLLISON suffered acute renal failure and other injuries

        117.     On January 16, 2014, Mr. OLLISON was taken in custody to the emergency

room at Graham Hospital in Canton, Illinois. He was suffering from acute renal failure.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 117.


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         118.     Laboratory results on that date at the Graham Hospital show that Mr. OLLISON

creatinine level was critically high (32.0, where normal is .80 - 1.30) and his hemoglobin level was

critically low (6.4, where normal is 13.0 - 16.9). His blood urea nitrogen (BUN) was abnormal (184,

where normal is 6 - 20) and his estimated glomerular filtration rate (eGFR) indicated renal

failure (2, when less than 15 indicates renal failure).

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 118.

        119.     Because Graham Hospital is a rural hospital that could not treat Mr.

OLLISON’s severely acute medical problems, he was moved that same day, January 16, 2014,

to St. Francis Medical Center in Peoria, Illinois, a tertiary hospital.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 119.

        120.     On January 16, 2014, when Mr. OLLISON suffered acute renal failure, he

began hemodialysis. His acute renal failure then lead to other complications.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 120.

        121.     On January 19, 2014, Mr. OLLISON developed paralysis on his left side,

complicated by the onset of seizures and status epilepticus. He thereafter suffered acute respiratory

failure, pneumonia, uncontrolled blood pressure, pancytopenia, pneumomediastinum, and

bilateral anterior pneumotheorax, among other conditions.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 121.

        122.     Mr. OLLISON required continuous veno-venous hemofiltration (CVVH) on

January 22, 2014, and tracheostomy and gastrostomy on February 7, 2014. An MRI of his head


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on January 27, 2014, showed bilateral cerebral cortical laminar necrosis, and a CT of his head on

February 11, 2014, showed progression to a bilateral parietal infarction.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 122.

        123.     When he was at St. Francis Medical Center, Mr. OLLISON was considered to

have suffered irreversible brain injury and had a poor prognosis for any meaningful

neurological recovery. He was on ventilator life-support and had a g-tube for feeding.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 123.

        124.     As a prisoner and ward of the state, Mr. OLLISON's guardian was the

Warden of Illinois River, GREG GOSSETT, who was in charge of his medical care and medical

decisions.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 124.

        125.     Mr. OLLISON's mother, Geraldine Joseph, his children, and other family

members were not informed about Mr. OLLISON's renal failure. They found out that he

was hospitalized when, out of concern, they called the prison to find out where he was.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 125.

        126.     Thus, at the end of January 2014, two weeks after he was hospitalized,

Mr. OLLISON's mother, children, and other family members were first told that he was in

a hospital, in a coma.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 126.


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        127.     A Do Not Resuscitate policy was instituted for Mr. OLLISON, against the

wishes of his mother and other family members. Mr. OLLISON's family was told that he would

be low-functioning and unable to care for himself and that "the plug should be pulled."

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 127.

        128.     On February 25, 2014, Mr. OLLISON was moved to MRL Specialty Hospital, in

Hinsdale, Illinois, where his respiratory failure resolved and his encephalopathy improved. His

swallowing function improved to the extent that he could resume eating.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 128.

        129.     On March 20, 2014, Mr. OLLISON was admitted to University of Illinois

Hospital and Health Sciences System in Chicago, Illinois to obtain physical therapy and

occupational therapy to work on mobility and self-care issues. Mr. OLLISON was released on

April 3, 2014.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 129.

        130.     Although he has made a remarkable recovery, Mr. OLLISON has suffered

permanent injuries as a result of the deliberate indifference of defendants to plaintiff's serious

medical needs, including residual weakness and the loss of the full functioning of his limbs,

as well as the loss of some mental functions.

ANSWER: Defendants deny the allegations in paragraph 130.

        131.     Mr. OLLISON's condition should have been properly diagnosed, controlled,

and managed by WEXFORD and defendant employees of WEXFORD and IDOC, and he




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should have been under the care of a nephrologist the entire time he was incarcerated at the

IDOC facilities.

ANSWER: Defendants deny the allegations in paragraph 131.

        132.       WEXFORD and defendant employees of WEXFORD and IDOC failed to

respond in a timely manner to serious, life-threatening conditions to Mr. OLLISON, causing

him permanent injury, loss of normal life, and extensive pain and suffering.

ANSWER: Defendants deny the allegations in paragraph 132.

        133.       By reason of the above-described acts and omissions of defendants, plaintiff

sustained physical and emotional injuries, and suffered great physical, mental, and emotional

pain and suffering, all to his damage, in an amount to be ascertained by a jury at trial.

ANSWER: Defendants deny the allegations in paragraph 133.

        134.       The aforementioned acts of defendants were willful, wanton, malicious,

oppressive, and done with reckless indifference to and/or callous disregard for

plaintiff's rights and justify the awarding of exemplary and punitive damages in an

amount to be ascertained by a jury at trial.

ANSWER: deny the allegations in paragraph 134.

        135.       By reason of the above-described acts and omissions of defendants,

plaintiff was required to retain an attorney to institute, prosecute and render legal

assistance to him in the within action so that he might vindicate the loss and

impairment of his rights. By reason thereof, plaintiff requests payment by defendants,

and each of them, of a reasonable sum for attorney's fees pursuant to 42 U.S.C. § 1988,

the Equal Access to Justice Act, or any other provision set by law.

ANSWER: Defendants deny the allegations in paragraph 135.




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                                        COUNT I
                    Violation of Eighth and Fourteenth Amendment -
        Defendants' Deliberate Indifference to Plaintiff's Serious Medical Condition

       136.     Plaintiff, ERIC OLLISON, hereby incorporates and realleges

paragraphs 1 - 135, as through set forth herein in their entirety.

ANSWER: Defendants incorporate by reference their responses to paragraphs 1 - 135 of the

factual summary as though fully set forth herein.

       137.     As alleged in more detail above, defendants knew or should have

known that Mr. OLLISON was in serious need of medical care, yet defendants were

deliberately indifferent to his serious medical needs, even though timely and

appropriate treatment for Mr. OLLISON's serious medical needs was feasible.

ANSWER: Defendants deny the allegations in paragraph 137.

       138.     Throughout his incarceration with the IDOC, defendants failed to provide Mr.

OLLISON with the proper continuity of care that his kidney disease and other ailments

required. Defendants failed to provide him with the necessary medical specialists.

ANSWER: Defendants deny the allegations in paragraph 138.

       139.     In November 2013 through January 2014, defendants were deliberately

indifferent to Mr. OLLISON's persistent cries for help, when it was clear or should have

been clear that he was suffering from acute renal failure and was in distress.

ANSWER: Defendants deny the allegations in paragraph 139.

       140.     The conduct of defendants, both their acts of omission and commission,

proximately caused plaintiff's temporary and permanent physical and emotional injuries, as

set forth more fully above.

ANSWER: Defendants deny the allegations in paragraph 140.




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        141.    Defendants deprived plaintiff of the rights, privileges and immunities secured to

him by the Eighth and Fourteenth Amendments to the Constitution of the United States and laws

enacted thereunder. Therefore, defendants are jointly and severally liable to plaintiff pursuant

to 42 U.S.C. §1983.

ANSWER: Defendants deny the allegations in paragraph 141.

                                       COUNT II
                 Monell Claim Against WEXFORD HEALTH SOURCES, INC.

        142.    Plaintiff, ERIC OLLISON, hereby incorporates and realleges paragraphs 1 -

135, as through set forth herein in their entirety.

ANSWER: Defendants incorporate by reference their responses to paragraphs 1 - 135 of the

factual summary as though fully set forth herein.

        143.    The constitutional violations set forth above were committed pursuant to the

unconstitutional policies and practices of WEXFORD, acting under color of law. There were

express policies and implied policies and widespread practices so prevalent as to comprise

corporate policy that caused the constitutional violations.

ANSWER: As the allegations in paragraph 143 are not directed to Defendants, no response is

required.

        144.    As a matter of both policy and practice, WEXFORD directly encouraged, and

thereby was the moving force behind, the constitutional violations at issue here by failing to

adequately train, supervise, and control its employees, such that its failure to do so

manifested deliberate indifference.

ANSWER: As the allegations in paragraph 144 are not directed to Defendants, no response is

required.




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        145.     As a matter of both policy and practice, WEXFORD facilitated the very type of

misconduct at issue here by failing to adequately supervise and hold accountable its employees,

thereby leading them to believe that their actions will never be scrutinized and, in that way,

directly encouraged continuing abuses such as those which affected plaintiff.

ANSWER: As the allegations in paragraph 145 are not directed to Defendants, no response is

required.

        146.     The deficiencies in the policies, procedures, and practices have been

documented by well-researched and highly respected studies and reports. In the case of

Lippert v. Godinez, 10 C 4603, the Court appointed an expert, Dr. Ronald Shansky, pursuant to

Fed. R. Evid. 706, to "assist the court in determining whether the Illinois Department of

Corrections ("IDOC") is providing health care services to the offenders in its custody that meet

the minimum constitutional standards of adequacy." The 405-page report (filed at 10 C 4603,

Document 339) devotes 38 pages (pages 89 - 126) to Stateville NRC and 37 pages (pages 249 -

285) to Illinois River. The report describes persistent, systemic problems in the institutions.

Regarding Stateville NRC, the report states:

               In summary, the healthcare program at NRC suffers from lack of leadership,
               weak infrastructure, disorganization, resource shortages and absent oversight.
               ...
               The medical records are disorganized and not conducive to providing adequate
               services. There are tabs in the charts, and there is a medical records department, but
               nothing is properly filed no matter how long the patients stay at NRC.

10 C 4603, Document 339 at 93.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 146.

        147.     Regarding Illinois River, the report cites:




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       [S]everal highly problematic cases . . . that resulted in actual harm to patients . . . some of
       which were under the care of the former Medical Director who we understand no longer
       works for Wexford.

10 C 4603, Document 339 at 252.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 147.

        148.     The statement regarding "the former Medical Director" presumably refers to

Doctor CARLA B. GREBY, who upon information and belief was relieved of her duties as

Medical Director a short time after Mr. OLLISON's tragic medical decline.

ANSWER: As the allegations in paragraph 148 are not directed to Defendants, no

response is required.

        149.     Regarding chronic diseases, the report pertaining to Illinois River notes deficiencies:

"There must be clinical oversight of the quality of care provided, both locally by a qualified Medical

Director, and centrally by Wexford." 10 C 4603, Document 339 at 283.

ANSWER: As the allegations in paragraph 149 are not directed to Defendants, no response is

required.

        150.     Prison monitoring reports from the John Howard Association of Illinois for

Stateville NRC (2011, 2012, and 2014) and for Illinois River (2012) also highlight systemic

problems at the institutions.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 150.

        151.     At all times material to this complaint, there existed at Stateville NRC and

Illinois River the following practices, policies, and customs attributable to WEXFORD:

               a)       Failure to establish an intake system that assures that the intake
                        information and records are complete and accurate and contain
                        all previous records for inmates from transferring institutions.


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               b)     Failure to establish a medical records system that maintains complete,
                      accurate, and organized records.

               c)     Failure to establish a medical records system that assures that the
                      information and records forwarded to a receiving correctional institution
                      (whether inter-system or infra-system) are complete and accurate.

               d)     Failure to provide inmates suffering from acute and life-threatening
                      medical conditions with the level of medical care and attention required.

               e)     Failure to provide inmates with timely access to health care.

               f)     Failure to implement a program for medical assessment of the level of
                      medical care required by inmates that takes into consideration staffing
                      levels and capabilities and prison population numbers.

               g)     Failure to provide inmates with serious and life-threatening medical
                      conditions prompt access to primary care physicians.

               h)     Failure to provide inmates with serious and life-threatening medical
                      conditions with prompt access to appropriate medical specialists.

               i)     Failure to institute clinical oversight of the quality of care.

               j)     Failure to provide prompt accessibility of laboratory and diagnostic
                      test results and adequate communication of those results to the
                      requesting medical staff.

               k)     Failure to implement an adequate system for collection, distribution
                      and diagnosis of medical care complaints and symptoms.

               l)     Failure to train employees in the recognition and handling of life-
                      threatening emergency medical situations.

               m)     Failure to make decisions based on medical necessity instead of
                      economics, i.e., the costs of diagnostic tests and referrals to specialists.

ANSWER: As the allegations in paragraph 151 are not directed to Defendants, no response is

required.

        152.   The actions of the individual defendants as alleged in this complaint were done

pursuant to, and as a result of, one or more of the above practices, policies, and customs of

WEXFORD and its employees.


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ANSWER: As the allegations in paragraph 152 are not directed to Defendants, no response is

required.

        153.   The actions of the individual defendants as alleged in this complaint, and the

actions of WEXFORD and its supervisory employees in failing to train, supervise, and

discipline employees with respect to said actions, resulted in recurring situations at

Stateville NRC and Illinois River, and not isolated instances of failure to act.

ANSWER: As the allegations in paragraph 153 are not directed to Defendants, no response is

required.

       154.     The practices, policies, and customs described above were widespread,

permanent, and well-settled, and were known, or should have been known, to the policy-

makers of the WEXFORD.

ANSWER: As the allegations in paragraph 154 are not directed to Defendants, no response is

required.

       155.     The policy-makers of WEXFORD were instrumental in maintaining,

overlooking, and perpetuating the unconstitutional practices, policies and customs

described above.

ANSWER: As the allegations in paragraph 155 are not directed to Defendants, no response is

required.

       156.     By their inaction and failure to correct the above-described practices, policies,

and customs, WEXFORD policy-makers tacitly approved and thus indirectly authorized the

type of misconduct plaintiff complains of herein.

ANSWER: As the allegations in paragraph 156 are not directed to Defendants, no response is

required.




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           157.   Through its practices, policies, and customs, defendant WEXFORD deprived

plaintiff of the rights, privileges and immunities secured to him by the Eighth and Fourteenth

Amendments to the Constitution of the United States and laws enacted thereunder. Therefore,

defendant WEXFORD is liable to plaintiff pursuant to 42 U.S.C. §1983.

ANSWER: As the allegations in paragraph 157 are not directed to Defendants, no response is

required.

                                         COUNT III
            Respondeat Superior Claim Against WEXFORD HEALTH SOURCES, INC.

           158.   Plaintiff, ERIC OLLISON, hereby incorporates and realleges paragraphs 1 -

135, as through set forth herein in their entirety.

ANSWER: Defendants incorporate by reference their responses to paragraphs 1 - 135 of the

factual summary as though fully set forth herein.

           159.   WEXFORD employees committed the acts set forth in detail in this complaint

within the scope of their employment. An employer is liable for its employees' actions

committed within the scope of their employment, because an employer should be held

responsible for the torts of employees whose actions it can control and from whose actions it

profits.

ANSWER: As the allegations in paragraph 159 are not directed to Defendants, no response is

required.

           160.   Defendant WEXFORD is thus liable to plaintiff, ERIC OLLISON, pursuant to

the doctrine of respondeat superior for the actions of its employees.

ANSWER: As the allegations in paragraph 160 are not directed to Defendants, no response is

required.




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                                        COUNT IV
               Supplemental State Claim for Indemnification by State of Illinois

        161.     Plaintiff, ERIC OLLISON, hereby incorporates and realleges paragraphs 1 -

135, as through set forth herein in their entirety.

ANSWER: Defendants make no answer to the allegations in paragraph 161 because the

Court dismissed Count IV on November 29, 2016. [Doc. 133].

        162.     The IDOC employees referred in this complaint were employed by or were

agents of the State of Illinois at all times pertinent to the incidents alleged in this complaint.

ANSWER: Defendants make no answer to the allegations in paragraph 162 because the

Court dismissed Count IV on November 29, 2016. [Doc. 133].

        163.     Alternatively and/or in addition to the allegations that defendant medical

personnel were employees and/or agents of defendant WEXFORD, those defendants were

employees and/or agents of the State of Illinois.

ANSWER: Defendants make no answer to the allegations in paragraph 163 because the

Court dismissed Count IV on November 29, 2016. [Doc. 133].

        164.     All acts alleged herein were committed within the scope of the individual

defendants' employment or agency.

ANSWER: Defendants make no answer to the allegations in paragraph 164 because the

Court dismissed Count IV on November 29, 2016. [Doc. 133].

        165.     The State of Illinois is empowered and directed to pay any judgment for

compensatory damages (and any associated attorneys' fees and costs) for which an employee

or agent acting within the scope of his/her employment or agency is found liable.

ANSWER: Defendants make no answer to the allegations in paragraph 165 because the

Court dismissed Count IV on November 29, 2016. [Doc. 133].



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        166.     Should any employee and/or agent of the State of Illinois be found liable to

plaintiff, ERIC OLLISON, pursuant to this complaint for his/her actions committed in the

scope of his/her employment or agency, then the State of Illinois must indemnify such

judgment for compensatory damages as well as the associated attorneys' fees and costs.

ANSWER: Defendants make no answer to the allegations in paragraph 166 because the

Court dismissed Count IV on November 29, 2016. [Doc. 133].

                                          General Denial

Defendants expressly deny any and all allegations not specifically admitted.

                                       Affirmative Defenses

        A.     Exhaustion

        To the extent Plaintiff has failed to adhere to the Illinois Department of Corrections

grievance procedures, his claim should be barred for failure to exhaust his administrative

remedies prior to the initiation of this cause of action, which serves as a bar to Plaintiff’s claims

by the PLRA, 42 U.S.C. § 1997e, and Perez v. Wisconsin Dept. of Corrections, 182 F. 3ed 532 (7th

Cir. 1999).

        B.     Setoff

        In the event Plaintiff is awarded damages, any recovery by Plaintiff from Defendants

shall be reduced or otherwise set off by all sums paid by or for anyone who is legally

responsible for the same injury, including co-Defendants Wexford Health Sources, Inc., Dr.

Carla Greby, Dr. Rebecca Einwohner, Connie Sword (now Freidinger), Edna Greenhagen, Lisa

Bishop, Kandis Critz (now Venyak), David Hopkins, Francie Maurice, Jennifer Easley, Karena

Barker, Shirley Law, Catherine D. Reynolds, and Christine Peltier. 740 ILCS 100/2.

                                           Jury Demand

        Defendants demand a trial by jury on all issues triable in that manner.


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       WHEREFORE, Defendants respectfully request that this Honorable Court enter

judgment in their favor and deny all relief sought by Plaintiff.



 Dated: December 10, 2021                       Respectfully submitted,

 Kwame Raoul
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